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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


HINES INTERESTS LIMITED PARTNERSHIP, a
Texas limited partnership; URBAN OAKS
BUILDERS, LLC, a Delaware limited liability
company; 1662 MULTIFAMILY LLC, a Delaware
limited liability company; HINES 1662
MULTIFAMILY, LLC, a Delaware limited liability
company; HINES INVESTMENT MANAGEMENT
HOLDINGS LIMITED PARTNERSHIP, a Texas
limited partnership; HIMH GP, LLC, a Delaware
limited liability company; HINES REAL ESTATE
HOLDINGS LIMITED PARTNERSHIP, a Texas
limited partnership; JCH INVESTMENTS, Inc., a
Texas corporation;

       Plaintiffs,                                    CASE NO. 6:18-cv-1147-ACC-DCI
v.

SOUTHSTAR CAPITAL GROUP I, LLC, a Florida
limited liability company; COTTINGTON ROAD
TIC, LLC, a Delaware limited liability company;
DURBAN ROAD TIC, LLC, a Delaware limited
liability company; COLLIS ROOFING, INC., a
Florida corporation; DA PAU ENTERPRISES, INC.,
a Florida corporation; FLORIDA CONSTRUCTION
SERVICES, INC., a Florida corporation;
STRUCTURAL CONTRACTORS SOUTH, INC., a
Florida corporation; NAVIGATORS SPECIALTY
INSURANCE COMPANY, a New York corporation;
GEMINI INSURANCE COMPANY, a Delaware
corporation; and IRONSHORE SPECIALTY
INSURANCE COMPANY, an Arizona corporation,

      Defendants.
_______________________________________/

               GEMINI’S RESPONSE TO THE ORDER TO SHOW CAUSE
       Defendant GEMINI INSURANCE COMPANY (“Gemini”), responds to the Court’s

show cause order (DE 53), and states:



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A.        Gemini obtained some publicly available information regarding the partners and
          members of the Plaintiffs, but jurisdictional discovery is needed to determine the
          identity and citizenship of the unknown partners and members.
          The show cause order requires Gemini to identify each member of a limited liability company

and each partner of a limited partnership and their citizenship at the time of removal. (DE 53, Pg. 4.)

Here, the Plaintiff LLCs and limited partnerships consist of other LLCs and limited partnerships. Those

LLCs and limited partnerships consist of other LLCs and limited partnerships. Gemini has been able to

identify some of Plaintiffs’ members and partners based on publicly available information. The chart

below summarizes the evidence regarding Plaintiffs’ members and/or partners:

                                          PARTNERSHIPS
Hines Interests Limited Partnership: Citizen of Texas
Hines Holdings, Inc. (sole general partner) (Citizen of Texas)

See Hines Holdings Texas Franchise Tax Public Information Report and Amended Registration of
Limited Partnership filed with the Texas Secretary of State, attached as Composite Exhibit “A.”1

Hines Investment Management Holdings Limited Partnership: Citizen of Texas
HIMH GP, LLC (sole general partner) (Citizen of Texas)

         Hines Real Estate Holdings L.P. (sole member) (Citizen of Texas)

             o JCH Investments, Inc. (sole general partner) (Citizen of Texas)

See Hines Investment Certificate of Formation filed with the Texas Secretary of State, attached as
Exhibit “B”; HIMH Texas Franchise Tax Public Information and Application for Registration filed
with the Office of the Comptroller, Texas, attached as Composite Exhibit “C.”


Hines Real Estate Holdings Limited Partnership: Citizen of Texas
JCH Investments, Inc. (sole general partner) (Citizen of Texas)

See Hines Real Estate 2006 and 2011 Periodic Reports and First Amendment to the Second Amended
and Restated Certificate of Limited Partnership, filed with Texas Secretary of State, attached as
Composite Exhibit “D”; JCH Texas Franchise Tax Public Information Report filed with the Office of
the Comptroller, Texas, attached as Exhibit “E.”


HIMH GP, LLC: Citizen of Texas
Hines Real Estate Holdings L.P. (sole member) (Citizen of Texas)



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    Unless Hines Holdings provided false information in the filing, Exhibit A is accurate.
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         JCH Investments, Inc. (sole general partner) (Citizen of Texas)

(See Ex. C; Ex. D; Ex. E.)

                                              LLCs

Urban Oaks Builders, LLC: Citizen of Texas
POC Holdings 1, Inc. (member) (Citizen of Texas)

See POC 1 Texas Franchise Tax Public Information Report filed with the Office of the Comptroller,
Texas, attached as Exhibit “F.”
POC Holdings 2, Inc. (member) (Citizen of Texas)

See POC 2 Texas Franchise Tax Public Information Report filed with the Office of the Comptroller,
Texas, attached as Exhibit “G.”

1662 Multifamily LLC
Hines 1662 Multifamily, LLC (managing member)
Hines Investment Management Holdings LP (managing member) (Citizen of Texas)

         HIMH GP LLC (Citizen of Texas)

(Ex. B; Ex. C.)

Hines 1662 Multifamily, LLC
Hines Investment Management Holdings LP (managing member) (Citizen of Texas)

         HIMH GP LLC (Citizen of Texas)

(Id.)

So far, the evidence confirms that Hines Interests Limited Partnership is a citizen of Texas

because its sole general partner is a citizen of Texas. (Ex. A.) The evidence also establishes that

Urban Oaks is a citizen of Texas because both of its members are citizens of Texas.

(Ex. F; Ex. G.) The evidence confirms that Hines Real Estate Holdings Limited Partnership is a

citizen of Texas, because its sole general partner is a citizen of Texas. (Ex. D; Ex. E.)2 The

evidence confirms that Hines Investment Management Holdings Limited Partnership is a citizen

of Texas, because its sole general partner is a citizen of Texas. (Ex. B; Ex. C.) The evidence



2
    Exhibit E confirms that JCH Investments, Inc. dropped its other partner.
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confirms that HIMH GP, LLC is a citizen of Texas because its sole member is a citizen of Texas.

(Ex. C; Ex. D; Ex. E.)

       Despite efforts, Gemini was not able to locate publicly available information regarding

the members or partners of the remaining Plaintiffs. As part of its due diligence, Gemini wrote to

Plaintiffs’ counsel requesting voluntary disclosure of all of the members and/or partners of the

Plaintiff LLCs and Limited Partnerships, including their citizenship at the time of removal.

(Correspondence, Ex. H.) Plaintiffs’ counsel declined to disclose all of the member and partners

of Plaintiffs and their citizenship on the grounds that the information is “confidential.” Gemini

objected to the sword and shield use of the identity of Plaintiffs’ members or partners, but

Plaintiffs will not disclose any information to Gemini. Under the circumstances, Gemini is in

need of limited jurisdictional discovery (interrogatories and requests for production) to resolve

the factual dispute regarding diversity jurisdiction.

       Plaintiffs’ response to the show cause order is not helpful. Specifically, Plaintiffs allege

that “the members of the Hines Entities include citizens of Delaware and Arizona, which defeat

diversity jurisdiction.” (DE 60.) In support of their argument, Plaintiffs only disclosed that

“HIMH GP, LLC… is a limited liability company organized under the laws of Delaware” and it

is the “managing general partner of Hines Investment Management Holdings Limited

Partnership.” (Id., Pg. 2.) This is not fully responsive to the Court’s Interested Persons Order.

(DE 53, Pg. 10.) The order requires “those Plaintiffs, who are limited liability companies and

limited partnerships… to identify all members of any LLC including their citizenship and all

other identifiable legal entities related to any part in this case,” meaning the “limited

partnerships. (Id.) Because Plaintiffs failed to identify each member of the LLC Plaintiffs and

each partner of the Limited Partnership Plaintiffs and their citizenship at the time of removal, the



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response is incomplete. The lack of full disclosure impedes Gemini’s ability to respond to the

factual dispute over diversity jurisdiction.

       Accordingly, Gemini respectfully requests 60 days of jurisdictional discovery to respond

to Plaintiff’s lack of jurisdiction argument. Through interrogatories and requests for production

Gemini hopes to obtain information regarding all of the members of 1662 Multifamily LLC and

Hines 1662 Multifamily LLC and their citizenship at the time of removal. See, e.g., Gibson v.

NCL (Bahamas) Ltd., No. 11-24343, 2012 WL 1952670, at *3 (S.D. Fla. May 30, 2012)

(granting leave to conduct jurisdictional discovery to address defendant’s lack of personal

jurisdiction argument); Sierra Equity Group, Inc. v. White Oak Equity Partners, No. 08-80017,

2008 WL 1771857, at *1 (S.D. Fla. April 15, 2008) (“[I]f the jurisdictional question is genuinely

in dispute and the court cannot resolve the issue in the early stages of the litigation then

discovery will certainly be useful and may be essential to the revelation of facts necessary to

decide the issue.”) (citing Eaton v. Dorchester Dev., Inc., 692 F.2d 727, 730 n.7 (11th Cir.

1982)); Empire Art Direct, LLC v. Crystal Art of Fla., No. 17-cv-61601, 2017 WL 6270036, at

*2 (S.D. Fla. Dec. 8, 2017) (“Courts within the Eleventh Circuit often allow limited

jurisdictional discovery…”) (collecting cases).

B.     The affidavit of Richard Heaton is inadmissible and fails to respond to the show
       cause order.
       In support of their partial response, Plaintiffs rely on the affidavit of Mr. Heaton, the

V.P.-Legal/Assistant Secretary of JCH Investment, Inc. (DE 60-1, Pg. 2.) Mr. Heaton alleges that

he has personal knowledge of the corporate records and operations of only three entities (HIMH

GP, HIMH LP, and Hines 1662). Mr. Heaton did not explain what records he reviewed to

support Plaintiffs’ lack of diversity of citizenship argument. Mr. Heaton did not explain how his

position is relevant to the records of HIMH GP, HIMH LP, or Hines 1662. Other than offering


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his position and a general explanation of how certain entities are connected, Mr. Heaton did not

allege that he is responsible for maintaining the corporate records for these entities or that he is

responsible for filing required documents by the department of corporation of any state. Further,

Mr. Heaton did not allege that he has any knowledge of the corporate records and operations of

his own employer or 1662 Multifamily, LLC. (DE 60-1, Pg. 2.) In short, Mr. Heaton’s affidavit

does not sufficiently establish that it is admissible evidence in support of Plaintiffs’ response. See

Federal Rule of Evidence 602 “A witness may testify to a matter only if evidence is introduced

sufficient to support a finding that the witness has personal knowledge of the matter.” See also

Alliant Tax Credit Fund v. Thomasville Cmty. Housing, LLC, 713 Fed. Appx. 821, 825 (11th Cir.

2017) (affirming Magistrate Judge’s order deeming three affidavits as proof of jurisdiction to be

inadmissible because they lacked sufficient personal knowledge); Underwriters at Lloyds v.

FedEx Freight System, Inc., No. 8:07-cv-212, 2008 WL 2901049, at *2 (M.D. Fla. July 23,

2008) (“The Willis Affidavit contains a blanket statement that the affidavit is based on Willis'

“personal knowledge, observations and business records kept in the ordinary course of

business”… This type of blanket statement that an affidavit’s contents are based on personal

knowledge does not preclude a finding that portions of the affidavit are inadmissible.”) (citations

omitted). The Court should simply disregard the affidavit.

       Even if the affidavit is admissible, it is deficient because it does not respond to the

Court’s order. (DE 53.) Specifically, Mr. Heaton did not disclose all of the members of the

Plaintiff LLCs or the partners of the Plaintiff Limited Partnerships, including their citizenship at

the time of removal. “Some investor members of 1662 Multifamily LLC are citizens of




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Arizona.” (DE 60-1, Pg. 2.)3 Gemini has no idea how many members this LLC has or whether

those entities or individuals were citizens of Arizona at the time of removal. Indeed, Mr.

Heaton’s affidavit contains less information that the above chart. Accordingly, the Court should

reject the incomplete and inadmissible affidavit.

    C.   Gemini confirms that the insurer defendants are citizens of Delaware, Connecticut,
         Arizona, and New York.
         The following evidence establishes that Gemini is a citizen of Delaware and Connecticut,

Ironshore is a citizen of Arizona, and Navigators is a citizen of New York.

Gemini: redomesticated to Delaware and principal       See Delaware Dept. of Insurance Report of
place of business in Connecticut.                      Examination, attached as Exhibit I.

Ironshore: incorporated in Arizona with principal      Arizona Dept. of Insurance 2017 annual report,
place of business in Arizona.                          attached as Exhibit J.

Navigators: incorporated in New York with              (DE 28.)4
principal place of business in New York.

This information fully responds to the Court’s inquiry regarding the citizenship of the insurer

defendants. (DE 53, Pg. 8.)

    D.   Gemini confirms that the construction nominal defendants are citizens of Florida.
         Gemini obtained the following publicly available information regarding the citizenship of

the construction nominal defendants:

Collins Roofing, Inc. (Citizen of Florida)             See 2018 Florida Profit Corp. Annual Report,
                                                       attached as Exhibit K.

DA Pau Enterprises, Inc. (Citizen of Florida)          See 2018 Florida Profit Corp. Annual Report,
                                                       attached as Exhibit L.

Structural Contractors South, Inc. (Citizen of         See 2018 Florida Profit Corp. Annual Report,
Florida)                                               attached as Exhibit M.


3
  Mr. Heaton’s cryptic statement highlights Plaintiffs’ sword and shield approach to the factual
issues regarding the diversity jurisdiction dispute.
4
  See also https://myportal.dfs.ny.gov/companydirectory (last visited 09/23/2018).


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Florida Construction Services, Inc. (Citizen of         See 2018 Florida Profit Corp. Annual Report,
Florida)                                                attached as Exhibit N.

This information fully responds to the Court’s inquiry regarding the citizenship of the

construction nominal defendants. (DE 53, Pg. 9.)

E.      Gemini has not been to obtain any information regarding the members of the
        remaining nominal defendants or their citizenship at the time of removal.
        Gemini has not located any publicly available information regarding the members of

Southstar Capital Group I, LLC, Cottington Road TIC, LLC, or Durban Road TIC, LLC. As part

of its due diligence, Gemini wrote to counsel for these nominal defendants requesting voluntary

disclosure of all of the members and/or partners of the LLCs and their citizenship at the time of

removal. (Correspondence, Ex. O.) As of this filing, no information was provided that would

allow Gemini to fully respond to the Court’s order. Accordingly, Gemini respectfully requests 60

days of jurisdictional discovery. Through interrogatories and requests for production Gemini

hopes to obtain information regarding all of the members of Southstar, Cottington, and Durban

and their citizenship at the time of removal.

                                                           Respectfully submitted,

                                                           /s/MICHELE A. VARGAS
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                               CERTIFICATE OF SERVICE

       I CERTIFY that on September 26, 2018, this document was filed via the CM/ECF system.

I further certify that I am unaware of any non-CM/ECF participants.

                                                   /S/MICHELE A. VARGAS
                                                   MICHELE A. VARGAS




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